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8
                          THE UNITED STATES DISTRICT COURT
9
                     FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10

11
         In re Outlaw Laboratory, LP               Case No. 3:18–cv–840–GPC–BGS
12
         Litigation                                consolidated with 3:18–cv–1882–
13                                                 GPC–BGS
14
                                                   Declaration of Robert Tauler in
15                                                 Support of Third-Party
                                                   Defendant Tauler Smith LLP’s
16
                                                   Motion for Summary Judgment,
17                                                 or in the Alternative, Summary
                                                   Adjudication
18

19                                                 Date:      September 18, 2020
20
                                                   Time:      1:30 p.m.
21
                                                   Hon. Gonzalo P. Curiel
22

23                                                 Courtroom 2D
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1                            DECLARATION OF ROBERT TAULER
2              I, Robert Tauler, declare as follows:
3              1.     I am the managing partner of Tauler Smith LLP (“TSLLP”). The
4        facts set forth in this Declaration are true of my own knowledge, and if called
5        upon to testify, I could and would testify as thereto.
6              2.     Tauler Smith LLP is a litigation firm that I started in 2015 with
7        Matthew Smith, my law school classmate. Matthew and I previously practiced
8        at Greenberg Traurig LLP and McDermott Will & Emery LLP
9              3.     I worked largely in nutritional supplement litigation from 2013 un-
10       til 2019, and represented various national supplement companies, including
11       those manufacturing sports supplements, anti-aging supplements, and health
12       supplements.
13             4.     Over the years, I have become very familiar with the nutritional
14       supplement marketplace, including the federal regulatory regime that allows
15       for unfair competition and illicit practices claims and I have been cited in nu-
16       merous articles regarding the illicit sale of unlawful supplements. I have also
17       been engaged as an expert witness in this area of law. Some of the evidence
18       generated in other cases has been used by the federal government to prosecute
19       companies selling misbranded drugs including United States v. Braun, et. al
20       (S.D. Fla. Case No. 9:19-cr-80030-WPD), which is currently pending. Attached
21       hereto as Exhibit 1 is a true and correct copy of a news article from Natural
22       Products Insider Dated December 5, 2018, entitled “FDA isn’t alone in target-
23       ing male enhancement products laced with drugs” where I was interviewed on
24       the topics at issue in this action.
25             5.     In the ordinary course of its practice, TSLLP was engaged to rep-
26       resent Outlaw Laboratory, LP (“Outlaw Labs”), a manufacturer and retailer
27       of nutritional supplements, in November of 2017 regarding legal disputes con-
28       cerning competing male sexual enhancement dietary supplements sold
                                               –1–
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1        through a network of distributors in convenience stores (the “Competing Prod-
2        ucts”). My understanding is that Outlaw Labs is a successor-in-interest to JST
3        Distribution, another client of TSLLP.
4              6.     The Competing Products were sold often as a single dose in the
5        form of a capsule pill. These products had packaging that advertised the pill
6        as a dietary supplement, however, based after researching various FDA public
7        notices and the client’s own independent testing, I came to the conclusion that
8        the competing products did not meet the legal definition of a dietary supple-
9        ment.
10             7.     TSLLP was first contacted by Outlaw, Mike Wear and Shawn
11       Lynch based on TSLLP’s prior work in nutritional supplement litigation.
12             8.     TSLLP was engaged to provide legal services for claims that al-
13       ready existed.
14             9.     TSLLP had no role in starting, creating, or participating in the cre-
15       ation of the entity, Outlaw Laboratory, LP.
16             10.    Tauler Smith did not collaborate with Shawn Lynch and Michael
17       Wear to create Outlaw Laboratory’s “TriSteel product.”
18             11.    Outlaw Labs created, manufactured, and sold supplement prod-
19       ucts called TriSteel 8 Hour and TriSteel (“TriSteel Products”), which it sold in
20       addition to numerous other sports supplements, including various pre-
21       workout products and muscle building supplements.
22             12.    When Outlaw Labs engaged TSLLP as legal counsel, it sought to
23       take legal action against convenience stores and distributors that offered for
24       sale competing sexual enhancement “supplement” products.
25             13.    Outlaw Labs gathered evidence regarding the sale of the compet-
26       ing products. Attorneys at TSLLP verified the information provided by Outlaw
27       Labs, including confirming that the infringing products identified in each
28       photo corresponded to FDA notices, identifying the specific infringing
                                                –2–
         Declaration of Robert Tauler ISO                       Case No. 3:18–cv–840–GPC–BGS
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1        products in each separate letter, and attaching the corresponding FDA notices
2        as an exhibit to the letter. As an additional measure of due diligence, TSLLP
3        also confirmed that the photos taken corresponded to the GPS coordinates of
4        each respective store.
5              14.    Amongst other representations, the competing products were ad-
6        vertised as “all natural” when in fact they were not because they contained
7        manmade substances including sildenafil and tadalafil. Attached hereto as
8        Exhibit 2 is a true and correct copy of Laboratory test records provided by
9        TSLLP’s clients that show how some of the competing products contain drugs
10       including sildenafil and tadalafil.
11             15.    Based on TSLLP’s investigation of its clients’ claims, TSLLP be-
12       came aware that the federal government has successfully prosecuted the sale
13       and distribution of these products on numerous instances. Attached hereto as
14       Exhibit 3 is a true and correct copy of criminal prosecution court records.
15             16.    Based on TSLLP’s investigation of its clients’ claims, TSLLP be-
16       came aware that the sale of these illicit products also led to many reported
17       deaths and frequent warnings from the FDA, which failed to abate the sale of
18       the illicit products. Attached hereto as Exhibit 4 is a true and correct copy of
19       various news articles on the harmfulness of the competing products at issue
20       in this case.
21             17.    Based on my work in nutritional supplement litigation, which has
22       included working with various experts, I have become aware that consumers
23       seeking performance supplements like male enhancement products choose
24       synthetic drugs over natural products like Outlaw Labs’ TriSteel Products,
25       because synthetic drugs are typically cheaper, more powerful, and, since they
26       are often sold as dietary supplements, consumers assume they are safe, par-
27       ticularly when, as in this case, the products are readily accessible. Outlaw
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         Declaration of Robert Tauler ISO                      Case No. 3:18–cv–840–GPC–BGS
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1        Labs’ TriSteel Products contain legal dietary ingredients, and as a result are
2        more expensive to manufacture.
3              18.    Outlaw Labs hired TSLLP to pursue legal action against stores
4        and distributors advertising and offering for sale the competing products.
5        Stores are the point of sale of the illicit products and are at the end of a covert
6        distribution network. Because of the illegality of the products, information re-
7        garding the importers and distributors is not readily available.
8              19.    TSLLP did standard research into Outlaw’s claims about the mar-
9        ketplace for the competing products, and confirmed Outlaw’s claims that the
10       competing products were generated by illegal importation, relabeling, and dis-
11       tribution of ingredients containing the active ingredients in Viagra and Cialis.
12             20.    TSLLP’s client Outlaw Labs (not the firm) took on the task of iden-
13       tifying stores that sold products identified by the FDA as tainted.
14             21.    TSLLP’s client Outlaw Labs (not the firm) conducted its own in-
15       vestigation of those stores, hired their own investigators, and compiled and
16       produced evidence of the illicit sale of products.
17             22.    TSLLP had no role in developing the TriSteel Products and did not
18       direct Outlaw Labs to create its TriSteel Products, which were first sold on
19       October 1, 2016 by Outlaw Labs, long before TSLLP was engaged.
20             23.    Given that RICO claims had been successfully prosecuted by the
21       government for the sale of the subject products, TSLLP stated in its initial
22       demand letters, sent from November 2017 through April 2018, that the stores
23       could be liable for civil RICO for their sale of the subject products.
24             24.    Recipients of the demand letters were asked to provide invoices
25       from their distributors so that Outlaw could eventually pursue distributors,
26       as well as a nominal settlement, in exchange for a release of all claims. TSLLP
27       did in fact pursue various distributors, on behalf of its client Outlaw Labs,
28       based on information provided by the stores, including for RICO. Attached
                                                –4–
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1        hereto as Exhibit 5 is a true and correct copy of Outlaw Laboratory, LP’s
2        Lawsuits against two distributors for RICO, including Trepco Imports, which
3        operates from Nevada and San Diego.
4                25.   In April of 2018, TSLLP no longer included RICO in its demand
5        letters since the remedies for violations of the Lanham Act were largely dupli-
6        cative and since TSLLP believed at that time that RICO claims were more
7        difficult to advance past pleading challenges.
8                26.   If stores did not settle, TSLLP filed lawsuits on behalf of Outlaw
9        Labs on numerous occasions, always with the client’s authorization. If the
10       store was located out of state, local counsel was found to prosecute the lawsuit.
11       TSLLP ceased filing lawsuits on behalf of Outlaw Labs after being named as
12       a third-party defendant in the present lawsuit, however, Outlaw Labs contin-
13       ued pursuing claims in other states.
14               27.   In addition to sending demand letters and filing lawsuits, TSLLP
15       litigated several actions, successfully defending challenges to the pleadings in
16       three instances. Attached hereto as Exhibit 6 is a true and correct copy of
17       Outlaw Labs’ Orders granting Motions to Dismiss obtained by TSLLP.
18               28.   TSLLP also obtained default judgments, drafted discovery and ne-
19       gotiated and drafted settlements with opposing counsel or parties on behalf of
20       its client.
21               29.   TSLLP always kept its clients apprised of developments in its
22       cases and no settlement was ever made without the client’s signature and con-
23       sent.
24               30.   As is standard with any attorney-client representation, TSLLP
25       had to (and did) obtain its client’s approval before agreeing to any settlements
26       on behalf of Outlaw Labs.
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         Declaration of Robert Tauler ISO                       Case No. 3:18–cv–840–GPC–BGS
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1              31.    Outlaw Labs engaged different law firms to represent it in similar
2        litigation against convenient stores located in different states while TSLLP
3        represented Outlaw Labs.
4              32.    TSLLP did not manage any of the affairs of Outlaw’s other attor-
5        neys. TSLLP would in some instances share its expertise with nutritional sup-
6        plement litigation and the Outlaw’s claims with other attorneys when asked.
7        TSLLP understands that Outlaw entered into their own engagement agree-
8        ment with those law firms, to which TSLLP was not a party.
9              33.    On or around January 2019, Outlaw Labs chose to terminate its
10       engagement of TSLLP with the exception of the defense of this action and two
11       other matters still pending.
12             34.    During the course of TSLLP’s representation of Outlaw, it settled
13       a claim against Counter-claimant Skyline Market. In entering the written
14       settlement agreement entitled “GLOBAL AGREEMENT OF COMPROMISE,
15       SETTLEMENT AND MUTUAL GENERAL RELEASES” Skyline was repre-
16       sented by attorney Freddie Garmo, an attorney who had been practicing law
17       since 1995. Attached hereto as Exhibit 7 is a true and correct copy of Outlaw
18       Labs and Skyline Market’s Settlement Agreement and Release.
19             35.    Mr. Garmo’s law firm is in El Cajon, California, delivered Skyline’s
20       signature pages for the settlement agreement to Tauler Smith in Los Angeles,
21       California on May 17, 2018.
22             36.    TSLLP represented Outlaw as its attorneys in entering the settle-
23       ment agreement itself.
24             37.    Based on TSLLP’s communications with Mr. Garmo’s office, I know
25       that Skyline and its counsel had an opportunity to review the allegations of
26       the demand letter and the truth or falsity of its allegations and legal asser-
27       tions and did not raise any concern to my office regarding the settlement that
28       I am aware of before executing the settlement agreement.
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1              38.    Skyline knew that Tauler Smith was the payee of the settlement
2        by the plain terms of the contract. Attached hereto as Exhibit 8 is a true and
3        correct copy of Skyline Market’s communication from Mr. Garmo to TSLLP
4        evidencing Skyline’s payment to Outlaw Labs.
5              39.    It was Outlaw Labs, not TSLLP, that gathered evidence to support
6        its legal claims against the Stores.
7              40.    TSLLP did not and could not have “conceived of the demand let-
8        ters” since they were acting on behalf of their client.
9              41.    TSLLP did pursue RICO litigation on behalf of Outlaw Labs as ev-
10       idenced by multiple lawsuits filed on its behalf in January and February of
11       2018. Attached hereto as Exhibit 9 is a true and correct copy of Complaints
12       filed by Outlaw Labs.
13             42.    These RICO lawsuits were predicated on theories advanced in
14       criminal prosecutions related to the same products. (See Ex. 3.)
15             43.    TSLLP was not the “sole financial beneficiary” of the demand let-
16       ters as it worked on a contingency basis with Outlaw Labs.
17             44.    TSLLP is unaware of any subpoenas issued outside of the present
18       case involving its representation of Outlaw Labs, let alone any subpoenas that
19       were “baseless.”
20             45.    As is typical with attorney representation, Outlaw permitted
21       TSLLP to negotiate settlements with businesses that received demand letters
22       or were sued. TSLLP also drafted complaints and filed them on behalf of Out-
23       law, and drafted settlement agreements on behalf of Outlaw, which only Out-
24       law signed and executed with the businesses.
25             46.    At no time did TSLLP act without the guidance or direction of Out-
26       law Labs in prosecuting claims on behalf of its clients.
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         Declaration of Robert Tauler ISO                       Case No. 3:18–cv–840–GPC–BGS
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1              47.    Based on their discovery responses, Outlaw Labs continued to pur-
2        sue claims with other law firms it engaged in different states long after the
3        contractual relationship between Outlaw Labs and TSLLP was terminated.
4              48.    I am aware through Westlaw searches that some of the subsequent
5        lawsuits Outlaw Labs pursued led to substantial default judgments in federal
6        court. TSLLP was not involved in obtaining these default judgments.
7              49.    Outlaw Labs continued pursuing claims with other attorneys after
8        it ended its engagement with TSLLP.
9              50.    TSLLP engaged in an arms-length contractual relationship for le-
10       gal services that TSLLP provided before being terminated.
11             51.    TSLLP never “enforced settlement agreements predicated on
12       fraudulent conduct.” At no time did TSLLP “enforce” any settlement agree-
13       ments to which Outlaw Labs was a party through subsequent litigation.
14             I declare under penalty of perjury under the laws of the United States
15       that the foregoing is true and correct.
16             Dated: July 22, 2020
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18                                                 /s/Robert Tauler
                                                   Robert Tauler
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1                                  CERTIFICATE OF SERVICE
2       In Re: Outlaw Laboratory, LP Litigation, Case No.: 3:18-cv-00840-GPC-BGS
3             I hereby certify that on July 22, 2020, copies of Declaration of Robert
4       Tauler in Support of Third-Party Defendant Tauler Smith LLP’s Mo-
5       tion for Summary Judgment, or in the Alternative, Summary Adjudi-
6       cation were filed electronically through the Court’s CM/ECG system, and
7       served by U.S. mail on all counsel of record unable to accept electronic filing.
8

9
                                           Sergenian Ashby LLP

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11                                         By: /s/David A. Sergenian
                                           David A. Sergenian
12                                         Attorneys for Third-Party Defendant
13                                         Tauler Smith LLP
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